






NO. 07-05-0263-CR


					NO. 07-05-0264-CR

					NO. 07-05-0265-CR

					NO. 07-05-0266-CR


IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



MAY 24, 2006



______________________________




MIGUEL A. TIJERINA, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 140TH DISTRICT COURT OF LUBBOCK COUNTY;



NOS. 2004-407714, 2005-408363, 2005-408364 &amp; 2005-408365; 



HONORABLE JIM BOB DARNELL, JUDGE


_______________________________



Before REAVIS and CAMPBELL and HANCOCK, JJ.

MEMORANDUM OPINION

	 Following an open plea of guilty, appellant Miguel A. Tijerina was convicted of four
counts of burglary of a habitation and sentenced to 20 years confinement.  In presenting
this appeal, counsel has filed an Anders (1) brief in support of a motion to withdraw.  We grant
counsel's motion and affirm.

	In support of his motion to withdraw, counsel certifies he has diligently reviewed the
record, and in his opinion, the record reflects no reversible error upon which an appeal can
be predicated.  Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967);
Monroe v. State, 671 S.W.2d 583, 585 (Tex.App.-San Antonio 1984, no pet.). Thus, he
concludes the appeal is frivolous.  In compliance with High v. State, 573 S.W.2d 807, 813
(Tex.Cr.App. 1978), counsel has candidly discussed why, under the controlling authorities,
there is no error in the trial court's judgment.  Counsel has also shown that he sent a copy
of the brief to appellant and informed appellant that, in counsel's view, the appeal is without
merit.  In addition, counsel has demonstrated that he notified appellant of his right to review
the record and file a pro se response if he desired to do so.  Appellant did not file a
response.  Neither did the State favor us with a brief.

	By his Anders brief, counsel raises several grounds that could arguably support an
appeal.  We have reviewed these grounds and made an independent review of the entire
record to determine whether there are any arguable grounds which might support an
appeal.  See  Penson v. Ohio, 488 U.S. 75, 109 S.Ct. 346, 102 L.Ed.2d 300 (1988);
Bledsoe v. State, 178 S.W.3d 824 (Tex.Cr.App. 2005).  We have found no such grounds
and agree with counsel that the appeal is frivolous.

	Accordingly, counsel's motions to withdraw are hereby granted and the trial court's
judgments are affirmed.

						Don H. Reavis

						    Justice


Do not publish. 
1. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).


